                                        Case 4:19-cv-07123-PJH         Document 733      Filed 05/04/25    Page 1 of 2




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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      WHATSAPP INC., et al.,
                                                                                        Case No. 19-cv-07123-PJH
                                  8                    Plaintiffs,

                                  9             v.                                      ORDER RE PROPOSED FINAL JURY
                                                                                        INSTRUCTIONS
                                  10     NSO GROUP TECHNOLOGIES
                                         LIMITED, et al.,                               Re: Dkt. No. 732
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          The court has reviewed the parties’ proposed final jury instructions that were still at

                                  15   issue after Friday’s charge conference and rules as follows:

                                  16          1. The seven jointly proposed instructions are approved and will be given.

                                  17          2. The court finds that plaintiffs’ reworked punitive damages instruction is clearer

                                  18             and will give it rather than defendants’ version.

                                  19          3. The court will give plaintiffs’ proposed instruction to the jury to disregard certain

                                  20             argument with the edit that the jury should “disregard” the allegation rather than

                                  21             “ignore” it.

                                  22          The court requires a complete blind set of all instructions that have been approved

                                  23   including the original jointly proposed instructions that have not yet been given (including

                                  24   Model Instruction No 1.4). They should all bear a title, but a blank space should be left

                                  25   for the number of the instruction which will be inserted by hand once the proper order is

                                  26   determined. They may either be filed on the docket today or brought to the courtroom

                                  27   Monday morning. Both sides must agree on the accuracy of the submission.

                                  28          With regard to closing arguments, the court generally limits arguments to 1 hour
                                        Case 4:19-cv-07123-PJH       Document 733       Filed 05/04/25    Page 2 of 2




                                  1    for a defendant and 1 hour 15 minutes for a plaintiff who bears the burden of proof and

                                  2    has an opportunity for rebuttal. Recognizing the difficulty of fashioning an argument that

                                  3    will precisely match the allotted time, the court will not interrupt an argument that exceeds

                                  4    the time limit by 5 to 10 minutes.

                                  5           IT IS SO ORDERED.

                                  6    Dated: May 4, 2025

                                  7                                                     /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  8                                                 United States District Judge
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Northern District of California
 United States District Court




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